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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA,

           v.
                                                    CRIM. NO. LKG-22-7
 MARILYN J. MOSBY,

                Defendant.


           GOVERNMENT=S RESPONSE TO DEFENDANT’S MOTION FOR
              RECONSIDERATION OF PRIOR RULING REGARDING
                 IMPROPER DEFENSE WITNESS TESTIMONY

       The United States of America submits this response in opposition to Defendant Marilyn J.

Mosby’s motion seeking reconsideration of the Court’s prior ruling regarding the improper

testimony of a defense witness. See ECF 424. The Defendant’s motion is wrong on the facts and

wrong on the law. Granting the Defendant’s motion to reverse the Court’s correct ruling would

represent a severe miscarriage of justice. It would allow a bald-faced nullification attempt in

violation of the Court’s previous rulings to go unaddressed. The Court should instead take the

modest step it has already ruled it would and instruct the jury that selective and vindictive

prosecution is not a matter for the jury to consider, and the judge has already decided the matter.

It must do so in order or to, at least partially, remediate the repeated violations of this Court’s

orders by the Defendant’s witness.

       1. The Court’s Clear Orders Exclude All Evidence and Arguments
          Regarding Vindictive, Selective, Political, or Unfair Prosecution

       The Court extensively considered spurious, unfounded, and baseless claims of bias in this

case, which previous defense counsel continued to make to the public even after the Court had

ruled there was no basis for any accusations. This Court held that the Defendant “has neither shown

objective evidence that [the prosecutor] has acted with personal animus towards the Defendant,

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nor that the Government would not have brought the case but for such animus.” ECF 52, at 13

(emphasis added). Similarly, this Court held that the Defendant has not “show[n] that the

prosecution of this case was undertaken in bad faith,” or because of racism. Id. at 13. Immediately

following the Court’s ruling, the Defendant herself stated that she “did not expect to prevail” on

these specious grounds. Alex Mann & Lee O. Sanderlin, Federal Judge denies Baltimore State’s

Attorney Marilyn Mosby’s motion to dismiss charges against her; case to go on, Baltimore Sun,

Apr. 14, 2022, available at https://www.baltimoresun.com/news/crime/bs-md-ci-cr-mosby-

motions-hearing-20220414- ymibtg67b5gw5lp6uu4aeqebsm-story.html.

       This Court then excluded all “evidence and arguments at trial regarding . . . vindictive,

selective, political, or unfair prosecution of the Defendant,” because there was no credible basis

for any such allegation. ECF 105, at 11. The Court also clearly held that “evidence and arguments

about the Government’s investigation and prosecution of this matter are also improper at the trial

stage of this criminal proceeding. It is well-established that arguments regarding an alleged

vindictive or selecti[ve] prosecution are not admissible at trial.” Id (emphasis added).

       Beyond the above-described specious arguments, the Court was also crystal clear

that prior investigations were entirely excluded from evidence, at the Defendant’s motion:

       Defendant persuasively argues, however, that evidence about prior investigations
       into her conduct should be excluded at trial. Defendant offers several grounds for
       excluding this evidence under Fed. R. Evid. 401, 402, 403 and 404(b). Def. 5th
       Mot. at 4-8. The issues in this case involve whether Defendant committed perjury,
       and/or made false statements, in connection with her Coronavirus-related
       Distribution requests and mortgage loan applications. See generally Superseding
       Indictment. Given this, the Court agrees with Defendant that evidence about prior
       investigations involving other, unrelated, matters is not relevant to the issues in this
       case. And so, the Court will exclude evidence about prior investigations of
       Defendant.

ECF 105, at 20.




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       2. The Defendant Put on Testimony that Repeatedly Violated this Court’s Clear
          Orders.

       As is described below, the Defendant’s witness, Nicholas J. Mosby, repeatedly testified in

violation of the above-described orders of the Court. In making a request for reconsideration for

the Court’s remedy for this violation, the Defendant’s motion contains an inaccurate and

incomplete recitation of the facts of that testimony. The Defendant describes the facts thus:

       The first time, Mr. Mosby briefly testified about how that interview occurred and
       some of the questions. See Rough Trial Transcript (January 25, 2024) at Page 73,
       ll.8-20. The second time, Mr. Mosby simply provided the date of that interview.
       See id. at Page 87, ll.22-25. Once, Mr. Mosby said Ms. Mosby was consistently a
       target of investigations by people who did not like her. See id. Page 42, ll.7-12.

That is not what happened.

       Mr. Mosby testified under cross examination that he had prepared on at least two occasions

with current defense counsel prior to testifying. See Rough Transcript (Tr.) 1/25/2024, at 158.

However, his testimony demonstrates that he is not aware of the Court’s prior ruling on vindictive

prosecution and the inadmissibility of prior investigations. For example, during his testimony, the

following exchange took place:

       Q. How were you dishonest with Ms. Mosby about owing money to the IRS?

       A. I knew it would be another burden on her so I kept it away from her. As state’s
       attorney, you know, she consistently got death threats. She was consistently a target
       of investigations by folks that didn’t like her –

Tr. 1/25/2024, at 43:7-12. The witness’s statement that the Defendant was “consistently” a target

of investigators who “didn’t like her” came directly after the comment about “consistent” death

threats that she received. The grouping together thus further impugned the prosecution team. The

two “consistent” things were, according to her lead witness, that she “consistently got death

threats” and that “she was consistently a target of investigations by folks that didn’t like her.”




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        The Government immediately objected. The Government noted that “the defense has now

opened the door to ongoing investigations and the witness is giving his understanding and opinion

on the motive for those investigations.” Tr. 1/25/2024, at 43:22-25.                      In response, counsel

responded: “Your Honor, I didn’t hear that at all. I mean, I -- Ms. Mosby was serving as ta state’s

attorney. I don’t think the witness even used the name Freddie Gray prosecution occurred, the job

became overwhelming.”1 Tr. 1/25/2024, at 44:7-10. The Government then read back the relevant

quote above and stated that the statement was also “a violation of this Court’s Orders that

specifically excluded information about the prior investigations.” Tr. 1/25/2024, 48:6-9.

        Later, the Defendant’s witness testified that the Defendant’s “credibility always being

called into question particularly from folks in the legal community.” 1/24/2024, 77:11-13. This

occurred shortly after the witness described at length the investigation into the jointly filed tax

returns, including an interview conducted by the two case agents sitting behind counsel’s table:

        Q: Does there come a time when you informed Ms. Mosby that you didn’t actually
        take care of the tax liabilities and the lien?

        A: The Department of Justice sent federal agents into city hall who asked me to
        stop my public meeting on the board of estimates on my birthday and questioned
        me for, I believe, almost two hours which started the investigation. They questioned
        everything from campaign stuff to personal matters, to financial stuff, to business
        matters. And I still was of the assumption that, again, there wasn’t a tax lien.
        Throughout that process of the investigation I eventually came clean with Marilyn
        that it was not handled the way I communicated to her back in 2020.

1/24/2024 Tr. at 73:8-20 (emphasis added). The witness gave no description of any other member

of the legal community in his testimony because the “Department of Justice” officials who the

Defendant’s witness was referring to were, as described below, the prosecutors in this very case




1 The Government is now – as it was then – unaware of how this statement about Freddie Gray is in any way responsive
to the Government’s objection to impugning the investigators. Notwithstanding, the witness later did mention Freddie
Gray twice in his testimony on direct examination, to the extent such a reference would be germane to this discussion
in any way. See 1/24/2024 Tr. at 62:8 and 82:1.

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who “sent federal agents” to interview him as part of the “investigations” that were directed by

“folks” who “didn’t like” the defendant. The Defendant’s witness was crystal clear that it was

these prosecutors he was talking about, and that he was impugning the motives of this prosecution.

        In addition, After the lunch break, the following exchange occurred:

        Q: Good afternoon.. So I wanted to take you back to some of the testimony from
        this morning just briefly. You mentioned that you were interviewed by the FBI on
        your birthday.

        A. Yes.

        Q. Would you mind sharing your birthday?

        A. March 10th.

        Q. Could you give the year of that interview?

        A. 2021.

        Tr. 1/24/2024, at 86:16-23. This came shortly after testimony by the witness that, “I also

knew that I’d always filed my taxes on time. That I was attempting to be responsive to the IRS and

I never – and that I was going to take care of it. I never expected it to turn into being secretly

recorded by the federal government.” Tr. 1/25/2024, at 82:19-22. The Court ordered those remarks

struck. Id.

        Finally, on cross-examination, the following exchange occurred:

        A: Again, I think the foundation of the Government's case is about the taxes that
        gave her access to get the property.

        Q. The taxes gave her access to get the. property. You think that the fact that you
        didn’t pay your taxes gave her access to the property, correct?

        A. No, no, I think the fact that we didn't pay our taxes is why you secretly recorded
        me and we started this –

Tr. 1/24/2024, at 186 (emphasis added).




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         Through his testimony, the Defendant’s witness impugned those who were leading

“investigations” of the Defendant, and made crystal clear to the jury that it was the very

prosecutors in this case who he believed acted out of bad motives. And he further implied that

there was something wrong about his being “secretly recorded.”2

         Contrary to the inaccurate and incomplete summary in the Defendant’s motion for

reconsideration, the above statements by the Defendant’s witness represent a clear and unequivocal

violation of the Court’s prior orders.

         3. The Court Should Not Reconsider Its Decision to Give a Curative Instruction.

         As the Court is well aware, it already considered these issues in full and held that it would

instruct the jury that there was no improper prosecution in this matter. See Tr. 1/24/2024, at 115:1-

14 (“we would ask the Court instruct the jury that there has been no improper -- THE COURT: By

the Court’s finding there was no [im]proper prosecution. MR. ZELINSKY: The Court has found

and I hereby instruct the jury. As we briefed many moons ago in a different courthouse with

different people, this is a matter that can only be raised pretrial. Can only be raised pretrial. THE

COURT: I'm happy to make that instruction.”). To that end, the Government proposes the Court

issue the following simple instruction upon completion of Mr. Mosby’s testimony, drawn from the

Court’s prior rulings on this matter:

            I hereby instruct you that the defendant, Marilyn Mosby, was not the subject
            of vindictive or selective prosecution in this case. That is a matter for the
            judge alone to decide, and I have already decided it. There is no evidence
            that the prosecution has acted with personal animus towards the Defendant.

         All this material was properly excluded years ago for good reason. Numerous courts have

held that argument or evidence concerning vindictive, selective, or unfair prosecution must be



2 At the conclusion of trial, the Government will seek the standard Sand & Siffert instruction that there is nothing
wrong with agents using covert measures to conduct investigations.

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excluded at trial because it is a question for the Court, not the jury, to decide. See, e.g., United

States v. Abboud, 438 F.3d 554, 579 (6th Cir. 2006) (“The district court’s motion in limine was

correct because the defense of selective prosecution is a matter that is independent of a defendant’s

guilt or innocence, so it not a matter for the jury.”). As with any defense based on “defects in the

institution of the prosecution,” a defense that questions or attacks the Government’s decision to

prosecute is not properly put before a jury. United States v. Cote, 544 F.3d 88, 104 n.5 (2d Cir.

2008) (quoting F. R. Crim. P. 12(b)(1)). Therefore, a claim of selective prosecution may only be

presented to the Court by motion. See United States v. Schmidt, 935 F.2d 1440, 1450 (4th Cir.

1991) (“It is well-settled that defenses and objections based on defects in the institution of the

prosecution must be raised prior to trial”); United States v. Williamson, 701 F. App’x 212, 217

(4th Cir. 2017) (“A motion claiming selective prosecution must be raised by pretrial motion if the

basis for the motion is then reasonably available and the motion can be determined without a trial

on the merits.”); United States v. Sun Myung Moon, 718 F.2d 1210, 1229 (2d Cir. 1983) (“[A]

defendant who advances a claim of selective prosecution must do so in pretrial proceedings.”).

Such a claim is never properly tried to the jury. See United States v. Jones, 52 F.3d 924, 927 (11th

Cir. 1995); United States v. Washington, 705 F.2d 489, 495 (D.C. Cir. 1983); United States v.

Berrigan, 482 F.2d 171 (3d Cir. 1973); United States v. Danielson, No. 97 Cr. 295 (RPP), 1998

WL 226200, at *1 (S.D.N.Y. May 5, 1998) (“a selective prosecution claim is a claim based on

alleged defects in the institution of a prosecution” and therefore must be raised before trial); United

States v. Napper, 553 F. Supp. 231, 232 (E.D.N.Y. 1982) (“The defendant does not have the right

to present a selective prosecution claim to a jury.”); United States v. Sotelo-Murillo, 887 F.2d 176,

182 (9th Cir. 1989 (“Whether the government’s conduct is sufficiently outrageous to violate due

process is a question of law reviewed de novo. Id. It is not an issue for the jury”); United States v.



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Cardella, 2007 U.S. Dist. LEXIS 64370, *7 (W.D. Mo, 2007) (“defendants are not permitted to

present evidence relating to claims of vindictive and selective prosecution at trial.”).

       But in the face of this clearest of black letter law, the Defendant argues—with no support

whatsoever—that, “The integrity of an investigation is a factual matter that a jury can consider in

determining whether the Government has established the guilt of a criminal defendant. Reading –

or instructing the jury at all – on the Court’s pretrial ruling that Ms. Mosby has not established a

claim of vindictive or selective prosecution invades the province of the jury on this front.” ECF

424, at 4 (emphasis added).

       How is that possibly true? How can instructing the jury on an issue that is not theirs to

decide possibly be improper, particularly when the Defendant, through her own witness, has placed

the issue at the jury’s feet in clear violation of the Court’s orders? How can telling the jury that

vindictive prosecution is not an issue for them to consider possibly “invade the province of the

jury?” This issue is not the “province of the jury” and never should have been introduced in a trial

in the first place, let alone repeatedly mentioned.

       Instructing the jury that the propriety of the prosecution is not their concern is not improper.

Rather, it is the least the Court can do to prevent the jury nullification argument that the defense

has now improperly introduced through a witness it twice met with to prepare. The Defendant’s

witness did not just make his remarks about the FBI, or the IRS: he focused on how “Ms. Mosby

was consistently a target of investigations by people who did not like her,” including the

“Department of Justice” who “sent” agents to question him about their shared matters. And in

case there was any question about who those people were, he directly addressed the prosecution

team, as “you” who secretly recorded him and gave rise to all of “this.” In other words, in violation




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of the Court’s orders, the Defendant’s witness argued to the jury this case is a vindictive and

selective prosecution. There is only one reason to make such an argument: jury nullification.

                                        CONCLUSION

       The Defendant’s witness repeatedly introduced wrongful evidence to the jury that has been

ordered excluded and should never have been mentioned. Had a Government witness mentioned

any previous investigation of the Defendant, it would have resulted in an immediate motion for a

mistrial – and rightly so. To follow the law and preserve the pursuit of justice, this Court should

not alter its decision and should give the simple and limited instruction proposed above.

                                             Respectfully submitted,
                                             Erek L. Barron
                                             United States Attorney

                                             _____/s/_____________________
                                             Sean R. Delaney
                                             Aaron S.J. Zelinsky
                                             Assistant United States Attorneys




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this day, a copy of the foregoing motion was electronically

filed via CM/ECF which provides notice to counsel of record.


                                           ___________/s/_______________
                                           Aaron S.J. Zelinsky
                                           Assistant United States Attorney




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